Case 2:06-cr-20663-AC-DAS ECF No. 617, PageID.3242 Filed 12/01/09 Page 1 of 2


                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                      Case No. 06-20663

D-10, DEXTER HUSSEY,                                    HONORABLE AVERN COHN

     Defendant .
___________________________________/



            ORDER REQUIRING A MENTAL EXAMINATION AND REPORT


       The Court, based on the record of the case, and particularly defendant’s conduct at

the opening of trial, has a concern as to the competency of defendant to stand trial, and if

competent to assist counsel in his defense, or in the alternative, to represent himself.

       Accordingly, under the authority of 18 USC §4241(b), Pretrial Services, in

consultation with the United States Attorney’s Office and William Ford, defendant’s

appointed counsel, shall arrange for a psychiatric or psychological examination of

defendant, determining whether or not defendant is competent to stand trial, and if so,

whether or not defendant is competent to assist counsel in his defense, or in the

alternative, to represent himself. A report shall be prepared and filed with the Court

pursuant to 18 USC §4247(b). The Court will then provide copies to defendant, as well as

appointed counsel and the government. Following receipt of the report, the Court will hold

a hearing to chart the further course of the case.
Case 2:06-cr-20663-AC-DAS ECF No. 617, PageID.3243 Filed 12/01/09 Page 2 of 2


       Pursuant to the Speedy Trial Act provisions of 18 USC §3161(h)(1)(A), the time

required for trial of the defendant shall be tolled from the date of this order until the results

of the examination are received by the Court, such period being delay contemplated by 18

USC §3161(h)(1)(A).

       SO ORDERED.



                                             s/ Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE


Dated: December 1, 2009


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, December 1, 2009, by electronic and/or ordinary mail.


                                             s/ Julie Owens
                                            Case Manager, (313) 234-5160




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